Case 1:19-cv-00150-DLF Document 212-2 Filed 09/08/23 Page 1 of 10




             EXHIBIT B
       Case 1:19-cv-00150-DLF Document 212-2 Filed 09/08/23 Page 2 of 10




                UNITED STATES DISTRICT COURT
       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

BROIDY CAPITAL MANAGEMENT                            Case No. 2:18-CV-02421-JFW-E
LLC, ELLIOTT BROIDY, and ROBIN
ROSENZWEIG,                                          The Honorable John F. Walter
Plaintiffs,                                          The Honorable Charles F. Eick
v.                                                   PLAINTIFFS’ SUBPOENA FOR
                                                     DOCUMENTS TO JOSEPH
STATE OF QATAR, STONINGTON                           ALLAHAM
STRATEGIES LLC, NICOLAS D.                           ________
MUZIN, and DOES 1-10,
Defendants.



       YOU ARE HEREBY COMMANDED, pursuant to Fed. R. Civ. P. 45, to produce the

documents and things designated herein for inspection at the offices of Boies Schiller Flexner

LLP, 575 Lexington Ave, 7th Floor, New York, NY 10022, within thirty (30) days of service, as

provided under the Federal Rules of Civil Procedure. This subpoena for documents, including

each individual Request for Documents (collectively, the “Requests”), shall be read and

interpreted in accordance with the definitions and instructions identified below.

                            DEFINITIONS AND INSTRUCTIONS

       Plaintiffs incorporate by reference all the instructions, definitions, and rules contained in

the Federal Rules of Civil Procedure, and for purposes of this Subpoena, the following

instructions and definitions shall apply:

       1.      The singular of each word shall be construed to include its plural and vice-versa,

and the root word and all derivations (e.g., “ing,” “ed”) shall be construed to include each other.

The words “and” as well as “or” shall be construed both conjunctively and disjunctively.




                                                 1
       Case 1:19-cv-00150-DLF Document 212-2 Filed 09/08/23 Page 3 of 10




       2.      The present tense shall be construed to include the past tense and vice-versa.

Where it is necessary to bring within the scope of these Requests information that might

otherwise be construed to be outside their scope, the use of a verb in any tense shall be

recognized as the use of that verb in all other tenses.

       3.      The terms “communication” and “communications” are defined to include any

document, snail mail, email, phone call, SMS or text message (including WhatsApp, Signal, or

similar encrypted messaging service), Facebook message, Facebook post, tweet on Twitter,

direct message on Twitter, chat or message on any social media platform, and any other means

used to convey information from one person to any other person or persons in any form. The

term “snail mail” is defined as written communication delivered by the United States Postal

Service, Federal Express, United Parcel Service, or any other delivery or courier.

       4.      The terms “document” and “documents” are defined to be synonymous in

meaning and equal in scope to the usage of the term “documents” in Fed. R. Civ. P. 34(a)(1)(A).

The terms “document” and “documents” are defined to include all writings of every kind and all

electronically stored information (“ESI”), including but not limited to videos, photographs,

sound recordings, images, charts, maps, records, memoranda, correspondence, handwritten or

typewritten notes, calendars, diaries, telephone messages, data or data compilations, emails,

attachments to emails, instant messages, PowerPoint presentations, spreadsheets, all other

writings in hard copy or in electronic form, and all other material stored on computers, computer

discs, CDs, DVDs, Blackberry or smartphone devices, tablets, personal digital assistants, USB

“thumb” drives, electronic calendars, and telephone systems.

       5.      A draft of a non-identical copy is considered a separate document.




                                                  2
       Case 1:19-cv-00150-DLF Document 212-2 Filed 09/08/23 Page 4 of 10




       6.      The terms “you” and “your” include the person(s) to whom these Requests are

addressed, and all of that person’s agents, representatives, and attorneys.

       7.      The “State of Qatar” means the sovereign country so titled and all political,

administrative, or legal subdivisions thereof, including but not limited to all agencies or

instrumentalities thereof, the Embassy of the State of Qatar in the United States; all elected and

appointed officials, employees, agents, consultants, and attorneys thereof; and any other person

acting for or on behalf of any of them.

       8.      The term “including” shall be construed as “including, but not limited to.”

       9.      In producing documents, you are requested to produce the original of each

document requested together with all non-identical copies and drafts of that document. If the

original of any document cannot be located, a copy shall be provided in lieu thereof, and shall be

legible and bound or stapled in the same manner as the original. In any circumstance in which

an agreement is reached to allow the production of copies of documents rather than originals,

you shall retain all of the original documents for inspection or copying throughout the pendency

of this case, any appeal(s), and any related proceedings.

       10.     Any alteration of a responsive document, including any marginal notes,

handwritten notes, underlining, date stamps, received stamps, endorsed or filed stamps, drafts,

revisions, modifications, and other versions of a document, is a responsive document in its own

right and must be produced.

       11.     Unless words or terms have been given a specific definition herein, each word or

term used herein shall be given its usual and customary dictionary definition, except where such

words have a usual custom and usage definition in your trade or industry, in which case they




                                                 3
         Case 1:19-cv-00150-DLF Document 212-2 Filed 09/08/23 Page 5 of 10




shall be interpreted in accordance with such usual custom and usage definition of which you are

aware.

         12.   Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, documents shall

be produced either (a) as they are kept in the usual course of business (in which case they shall

be produced in such fashion as to identify the department, branch or office in whose possession it

was located and, where applicable, the natural person in whose possession it was found or the

server or central file in which it was found, and the address of each document’s custodian(s)), or

(b) segregated as responsive to a specific Request enumerated in these Requests, with such

specific Request identified.

         13.   All documents shall be produced in the file folder, envelope, or other container in

which the documents are kept or maintained. If, for any reason, the container cannot be

produced, produce copies of all labels or other identifying marks.

         14.   Documents attached to each other should not be separated.

         15.   If you file a timely objection to any portion of a Request, definition, or

instruction, provide a response to the remaining portion.

         16.   The time period to which these Requests refer is from May 1, 2017 to the present.

If any document is undated and the date of its preparation cannot be determined, the document

shall be produced if otherwise responsive to any of the Requests.

         17.   These Requests are continuing and require supplemental responses in accordance

with the requirements of Federal Rule of Civil Procedure 26(e).

         18.   The terms defined above and used in each of the Requests should be construed

broadly to the fullest extent of their meaning in a good-faith effort to comply with the Federal

Rules of Civil Procedure.




                                                 4
       Case 1:19-cv-00150-DLF Document 212-2 Filed 09/08/23 Page 6 of 10




                               DOCUMENTS TO BE PRODUCED

Document Request No. 1

       All documents concerning or constituting communications regarding Plaintiffs with the

State of Qatar or with its officials, agents, or any persons acting on its behalf, including but not

limited to Nicolas D. Muzin.

Document Request No. 2

       All documents concerning or constituting communications related to payments to You

relating to Your representation of the State of Qatar.

Document Request No. 3

       All documents concerning or constituting communications regarding Your retention by

the State of Qatar.

Document Request No. 4

       All documents concerning or constituting communications relating to one or more of the

Plaintiffs with agents of the State of Qatar (whether registered or unregistered), including

individuals or entities associated with, or employed by, Avenue Strategies Global LLC, Ashcroft

Law Group, Levick Strategic Communications, Information Management Services Inc., Conover

& Gould Strategic Communications, Gallagher Group, Global Risk Advisors, McDermott, Will

& Emery, Nelson Mullins Riley & Scarborough LLP, Portland PR, Mercury Public Affairs,

Bluefront Strategies, Hawksbill Group, Vitello Consulting, Iron Bridge Strategies, Tigercomm

LLC, Husch Blackwell Strategies, SGR Government Relations & Lobbying, and Venable LLP.




                                                  5
      Case 1:19-cv-00150-DLF Document 212-2 Filed 09/08/23 Page 7 of 10




Dated: April 23, 2018
       New York, New York

                                          /s/ Amy Neuhardt
                                          Amy Neuhardt
                                          BOIES SCHILLER FLEXNER LLP
                                          1401 New York Ave., NW
                                          Washington, DC 20005
                                          Telephone: (202) 237-2727
                                          Fax: (202) 237-6131
                                          Email: ameuhardt@bsfllp.com

                                          Counsel for Plaintiffs




                                      6
       Case 1:19-cv-00150-DLF Document 212-2 Filed 09/08/23 Page 8 of 10




                    Text of Federal Rule of Civil Procedure 45(d) and (e)

(d) PROTECTING A PERSON SUBJECT TO A SUBPOENA; ENFORCEMENT.

        (1)    Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible
for issuing and serving a subpoena must take reasonable steps to avoid imposing undue burden
or expense on a person subject to the subpoena. The court for the district where compliance is
required must enforce this duty and impose an appropriate sanction—which may include lost
earnings and reasonable attorney’s fees—on a party or attorney who fails to comply.

       (2)    Command to Produce Materials or Permit Inspection.

               (A)     Appearance Not Required. A person commanded to produce documents,
       electronically stored information, or tangible things, or to permit the inspection of
       premises, need not appear in person at the place of production or inspection unless also
       commanded to appear for a deposition, hearing, or trial.

               (B)     Objections. A person commanded to produce documents or tangible things
       or to permit inspection may serve on the party or attorney designated in the subpoena a
       written objection to inspecting, copying, testing, or sampling any or all of the materials or
       to inspecting the premises—or to producing electronically stored information in the form
       or forms requested. The objection must be served before the earlier of the time specified
       for compliance or 14 days after the subpoena is served. If an objection is made, the
       following rules apply:

                    (i)     At any time, on notice to the commanded person, the serving party
              may move the court for the district where compliance is required for an order
              compelling production or inspection.

                      (ii)    These acts may be required only as directed in the order, and the
              order must protect a person who is neither a party nor a party’s officer from
              significant expense resulting from compliance.

       (3)    Quashing or Modifying a Subpoena.

              (A)     When Required. On timely motion, the court for the district where
       compliance is required must quash or modify a subpoena that:

                      (i)     fails to allow a reasonable time to comply;

                      (ii)   requires a person to comply beyond the geographical limits
              specified in Rule 45(c);

                     (iii)  requires disclosure of privileged or other protected matter, if no
              exception or waiver applies; or
      Case 1:19-cv-00150-DLF Document 212-2 Filed 09/08/23 Page 9 of 10




                      (iv)   subjects a person to undue burden.

              (B)      When Permitted. To protect a person subject to or affected by a subpoena,
       the court for the district where compliance is required may, on motion, quash or modify
       the subpoena if it requires:

                     (i)    disclosing a trade secret or other confidential research,
              development, or commercial information; or

                     (ii)    disclosing an unretained expert’s opinion or information that does
              not describe specific occurrences in dispute and results from the expert’s study
              that was not requested by a party.

              (C)    Specifying Conditions as an Alternative. In the circumstances described in
       Rule 45(d)(3)(B), the court may, instead of quashing or modifying a subpoena, order
       appearance or production under specified conditions if the serving party:

                     (i)    shows a substantial need for the testimony or material that cannot
              be otherwise met without undue hardship; and

                    (ii)   ensures that the subpoenaed person will be reasonably
              compensated.

(e) DUTIES IN RESPONDING TO A SUBPOENA.

        (1)   Producing Documents or Electronically Stored Information. These procedures
apply to producing documents or electronically stored information:

              (A)    Documents. A person responding to a subpoena to produce documents
       must produce them as they are kept in the ordinary course of business or must organize
       and label them to correspond to the categories in the demand.

                (B)   Form for Producing Electronically Stored Information Not Specified. If a
       subpoena does not specify a form for producing electronically stored information, the
       person responding must produce it in a form or forms in which it is ordinarily maintained
       or in a reasonably usable form or forms.

              (C)     Electronically Stored Information Produced in Only One Form. The
       person responding need not produce the same electronically stored information in more
       than one form.

               (D)    Inaccessible Electronically Stored Information. The person responding
       need not provide discovery of electronically stored information from sources that the
       person identifies as not reasonably accessible because of undue burden or cost. On
       motion to compel discovery or for a protective order, the person responding must show
       that the information is not reasonably accessible because of undue burden or cost. If that
Case 1:19-cv-00150-DLF Document 212-2 Filed 09/08/23 Page 10 of 10




showing is made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule 26(b)(2)(C). The
court may specify conditions for the discovery.

(2)    Claiming Privilege or Protection.

       (A)     Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation material
must:

               (i)     expressly make the claim; and

               (ii)    describe the nature of the withheld documents, communications,
       or tangible things in a manner that, without revealing information itself privileged
       or protected, will enable the parties to assess the claim.

        (B)      Information Produced. If information produced in response to a subpoena
is subject to a claim of privilege or of protection as trial-preparation material, the person
making the claim may notify any party that received the information of the claim and the
basis for it. After being notified, a party must promptly return, sequester, or destroy the
specified information and any copies it has; must not use or disclose the information until
the claim is resolved; must take reasonable steps to retrieve the information if the party
disclosed it before being notified; and may promptly present the information under seal to
the court for the district where compliance is required for a determination of the claim.
The person who produced the information must preserve the information until the claim
is resolved.
